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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA


     TIFFANY TATE; and QUANTUM                     )
     LUXURY PROPERTIES, LLC                        )
                                                   )
                                     Plaintiff     )      Case No.
                                                   )
                       vs.                         )
                                                   )
     IBIS PROPERTY OWNERS                          )
     ASSOCIATION, INC.; and IBIS                   )
     GOLF & COUNTRY CLUB, INC.                     )
                                                   )
                                 Defendants        )
                                                   )

                                          COMPLAINT

            NOW COMES Plaintiffs TIFFANY TATE (“Tiffany” and or “Tate”) and

     QUANTUM LUXURY PROPERTIES, LLC, a Maryland limited liability company

     (“QLP”) who sues Defendants IBIS PROPERTY OWNERS ASSOCIATION, INC.

     (“IPOA”) and IBIS GOLF & COUNTRY CLUB, INC. (the “Club”) and alleges and says

     as follows:

                                 JURISDICTION AND VENUE

     1. This is all action that involves racial discrimination under the Fair Housing Act, 42

        U.S.C. § 3604.

     2. This Court has subject matter jurisdiction of Plaintiff’s Federal law claims pursuant to

        28 U.S.C. § 1331.

     3. Plaintiff and Defendants reside in this judicial district and the events and omissions

        giving rise to Plaintiff’s claims occurred in this district. Venue is proper in this

        district and divisions pursuant to 28 U.S.C. § 1391(b).



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                                              PARTIES

     4. Plaintiff, TIFFANY TATE, is an African American and a permanent resident and

        resident of the state of Maryland.

     5. Plaintiff, LUXURY PROPERTIES, LLC is a Maryland limited liability company

        with its principal place of business located at 312 Willow Oak Circle, Pikesvile MD

        21208.

     6. Defendant IBIS PROPERTY OWNERS ASSOCIATION, INC. is a Florida

        Corporation organized under the laws of Florida. Its principal and registered offices

        are located at 9055 Ibis Blvd., West Palm Beach, FL 33412 and it regularly carries on

        business in Palm Beach County, Florida and the Southern District of Florida.

     7. Defendant IBIS GOLF & COUNTRY CLUB, INC. is a Florida Corporation

        organized under the laws of Florida. Its principal and registered offices are located at

        8225 Ibis Blvd., West Palm Beach, FL 33412 and it regularly carries on business in

        Palm Beach County, Florida and the Southern District of Florida.

                                    FACTUAL ALLEGATIONS

     8. In March of 2015, Plaintiff Tate along with three (3) White companions and a White

        realtor, met in person with John Jorritsma, Director of Sales and Marketing for

        Defendant Club. The purpose of this meeting was to learn about the possibility of

        shared homeownership and club membership with the West Palm Beach, Florida

        country club that is owned and operated by Defendants IPOA and Club. Jorritsma,

        employed by Defendant Club, enthusiastically welcomed Plaintiff Tate, her group of

        white business associates, and her ideas. Jorritsma specifically explained to Plaintiff




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        Tate and her white companions the potential for Club Membership that existed with

        respect to biologically unrelated owners of a single property.

        9. In April of 2015, Plaintiff Tate ultimately purchased the home, which is located at

           8152 Sandpiper Way and had been the subject of the discussion with Jorritsma.

           This purchase was made by Plaintiff Tate, in partnership with four (4) other

           persons. Only one (1) of these 8152 Sandpiper Way co-purchasers had actually

           accompanied Plaintiff Tate on her original visit to the Club membership office in

           March of 2015. Three (3) of Plaintiff Tate’s four (4) ultimate 8152 Sandpiper

           Way co-purchasers are Black people.         The one (1) White co-purchaser had

           attended the March 2015 meeting that involved Jorritsma and Plaintiff Tate.

        10. In March 2015, Tate and three co-owners formed an LLC, Sandpiper Strategies,

           LLC, a Maryland LLC, to purchase the 8152 Sandpiper Way home. In completing

           the membership application, Plaintiff submitted the organization’s Operating

           Agreement, which identifies five (5) co-purchasing owners and describes in detail

           the shared use arrangement contemplated for the home. This submission was

           made in response to Michele Bucolo’s (Membership Director for the Club)

           statement that the Club Board of Directors required review of the purchasing

           entity’s governing documents in order to approve membership.

        11. On April 29, 2015, Bucolo notified Tate that, pursuant to the board’s review the

           Board had approved Sandpiper Strategies, LLC’s membership application, and

           allowed this multi-member LLC., to purchase the 8152 Sandpiper Way property.

        12. In April of 2015, Tate, inquired with the Club’s leadership about the possibility of

           converting a second home she had purchased into a shared ownership



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           arrangement. Ms. Tate relied upon the fact that the Defendants had approved the

           shared ownership of the 8152 Sandpiper property, when she decided to purchase

           other property in the Ibis development. Ms. Tate reasonably relied on defendants’

           course of conduct regarding 8152, specifically the Defendants’ agreement to a

           plan of shared ownership, when Ms. Tate purchased a property located at 7717

           Azalea Court, within the Ibis community (hereinafter the “Premises” and or “7717

           Azalea”).

        13. The initial plan for the 7717 Azalea was to accommodate up to six (6) buyers who

           would establish a single-entity LLC and participate as the LLC’s members.

        14. Plaintiff Tate contemplated that LLC membership for co-purchasers of the 7717

           Azalea Court home would provide to each LLC member the shared use of the

           home and Club membership, identical to the Club board-approved arrangement

           under which she resided in Ibis and enjoyed Club benefits through her ownership

           of the 8152 property.

        15. Tate planned to purchase and operate the 7717 property using precisely this same

           arrangement that the Defendants had approved for her personal home in the Ibis

           community, 8152 Sandpiper Way. The Plaintiff believes, and therefore alleges,

           that the Defendants believed Ms. Tate was in partnership with ONLY white

           partners in the 8152 property.

        16. Plaintiff Tate believes, and therefore alleges the Defendants approved the shared

           ownership and shared Club membership of the 8152 property based on the

           Defendants’ belief that Ms. Tate was the only black partner.




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        17. On June 2, 2015, Plaintiff Tate, accompanied by a White business associate,

           formally presented to Jorritsma, and Bucolo the full details of the shared

           ownership concept, for the 7717 Azalea property.

        18. Under this plan, a company called Quantum Luxury Properties (QLP) would

           administer the ownership and management of the 7717 Azalea.

        19. During the meeting, Tate explicitly stated verbally and in written presentation her

           intent to launch the program in the early part of July 2015.

        20. The Club leadership was supportive and offered suggestions with respect to the

           manner in which Club bylaws and policies could be leveraged to maximize the

           use of membership for a shared arrangement. One suggestion included

           employment of Legacy Membership. During this meeting, Tate had not

           mentioned the possibility that some of the contemplated owners would be black.

           Therefore, Tate believes and therefore alleges that the Defendants believed that

           the other investor/owners of the 7717 Azalea property would be white.

        21. According to standard club membership terms, as many as two (2) adults may be

           designated as “Member Designee” and “Member Second.” An unlimited number

           of minor children are also allowed to be Club members. Legacy Membership in

           the club is reserved for up to two (2) additional adults residing in a household

           where a Member Designee and Member Second already exist.

        22. Upon information and belief, the Plaintiffs believe and therefore allege that the

           Defendants encouraged the Plaintiffs to use “Legacy Membership”, for the 7717

           Azalea property when the defendants believed that all the owners of the 7717

           Azalea property LLC would be white.



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        23. Within its governing documents, Defendant IPOA specifically maintains that

           criteria for club membership are “ministerial” in nature. As a practical

           consequence, the Defendants normally only collect information that is

           “reasonably required for Country Club records”.

        24. During Plaintiff Tate’s meetings with Defendants, including the June 2, 2015

           meeting, Defendants specifically shared with Plaintiff Tate the manner in which

           QLP’s plan could be brought to fruition, namely utilizing Legacy Memberships to

           extend full memberships to two additional co-owners.

        25. On at least two (2), independent occasions, Bucolo, the Club’s Director of

           Membership, told Tate that Defendants had “never denied membership to

           anyone.” To the best of the Plaintiffs’ knowledge, all of these conversations took

           place when the Defendants believed that Ms. Tate’s business associates and co-

           owners were white.

        26. On June 5, 2015, Plaintiff Tate sent correspondence to Jorritsma and Bucolo,

           thanking them for their time and confirming the fact that she would limit her

           initial 7717 Azalea Court shared ownership arrangement to four (4) members.

        27. Such a limitation was jointly calculated by Ms. Tate, Mr. Jorristsma and Ms.

           Bucolo, to easily comply with Defendants’ membership Bylaws related to Legacy

           Membership. Plaintiff also reiterated the plan to officially launch in early July of

           2015 the program that would provide for the purchase of the 7717 Azalea

           property by an LLC.

        28. The plan for the sale of 7717 Azalea, and consequential access to Club

           membership, was identical to the arrangement for the 8152 property.



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        29. The Defendants had approved and encouraged the purchase of the 8152 property

           when they perceived that all the owners/members of Sandpiper Strategies, LLC--

           except for Ms. Tate were white.

        30. Also on June 5, 2015, Plaintiff Tate proceeded with high-quality, costly upgrades

           to the 7717 Azalea Court property. Said upgrades were performed in anticipation

           of Plaintiff’s planned sale of the property to a single entity LLC through QLP,

           which would have been significantly more lucrative than selling it to a more

           traditional buyer.

        31. Plaintiff would not have made such upgrades had she not received the supportive

           reception from the Club during the June 2 meeting.

        32. Ms. Tate reasonably relied upon the Defendants’ prior approval of the purchase

           and membership arrangement for the 8152 property and supportive position

           expressed during the June 2 meeting when she made high-end improvements to

           the 7717 property.

        33. Between June 2, 2015 and July 20, 2015, Plaintiff Tate provided several written

           and verbal updates on the plan for the 7717 Azalea property to Defendants’

           agents.

        34. Plaintiff Tate received constructive comments and assistance with the QLP

           business plan for the 7717 Azalea property from Defendants Jorritsma and

           Bucolo.

        35. Jorritsma, Bucolo, and Michael Tobin also provided assistance to Plaintiff Tate by

           clarifying membership guidelines, offering comments concerning Plaintiff-

           authored promotional materials and providing hardcopies and electronic versions



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           of Defendants’ own membership documents and promotional materials, including

           the membership application.

        36. Upon information and belief the Plaintiffs believe and therefore allege that the

           Defendants did not know that Ms. Tate intended to invest/own the property with

           other black people.

        37. By way of anecdote, between April of 2015 and August of 2016, Plaintiff Tate,

           Novella Tascoe, and the co-purchasers of the 8152 Sandpiper Way home in the

           Ibis community have used Defendant Club amenities five to ten (5-10) times per

           month. During these visits, collectively, Tate and her co-purchasers have

           observed fewer than ten (10) Black people who appear to be Ibis community

           owners, Ibis community prospective owners, or Ibis community club guests.

           Plaintiff Tate has visited Defendant Club’s membership office on approximately

           ten (10) occasions between April 1, 2015 and August 22, 2016. During those

           visits, Tate, her co-owners, and guests never encountered a Black person

           appearing to be an Ibis community owner, prospective Ibis community owner, or

           guest. Between 2005 and 2015, while Plaintiff Tate visited the Ibis community on

           an annual basis as a peak season guest, she encountered fewer than five (5) Black

           people appearing to be owners, prospective owners, or club guests within the Ibis

           community.

        38. Between the June 2, 2015 meeting, during which Defendant Club positively

           received the business plan for the 7717 Azalea property, that Plaintiff presented

           on behalf of QLP, and July 25, 2015, when Defendants’ actions which serve as

           the foundation of this Complaint were manifested, a relatively high number of



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           Black people visited Defendant Club’s membership offices and amenities to

           formalize their membership or assess the shared ownership opportunity. These

           visits are specifically documented with Ibis POA visitor log records.

        39. On or about June 11, 2015, Novella Tascoe visited Defendant Club’s membership

           office for the first time. The purpose of this visit was to retrieve her Club

           identification card. Upon information and belief, Plaintiff believes and therefore

           alleges that this was the first time either Defendant IPOA, Defendant Club, or any

           of the individual defendants, became aware that at least one of Plaintiff’s co-

           owners is Black. Shortly after the Defendants met Ms. Tascoe, the Defendants’

           attitudes toward the Plaintiffs began to show a sudden and dramatic change for

           the worse.

        40. On or about June 20, 2015, three (3) Black women, who were Plaintiffs’ guests,

           went to Defendant Club’s membership office to retrieve guest passes. These

           Black women specifically inquired about membership privileges in the context of

           a shared ownership arrangement during their visit.

        41. On June 26, 2015, a Black male went to Defendant Club’s membership office, to

           inquire about the process of obtaining membership. During his inquiry, this

           individual discussed the fact that he was assessing a potential shared ownership

           arrangement that Ms. Tate and QLP had presented to him. As stated in the

           preceding paragraphs, the Defendants had, for all practical purposes, approved

           and encouraged this shared ownership arrangement as to both the 8152 property

           and the 7717 Azalea property; at least while the Defendants believed the majority




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           of the owners/investors were white. During that visit, Club staff acknowledged

           awareness of the opportunity offered through QLP.

        42. On July 7, 2015, a Black couple identified as Plaintiff Tate’s guests, visited

           several of Defendant Club’s facilities. This couple perused Defendant Club’s

           amenities, inquired about potential homeownership and investigated the prospect

           of obtaining Defendant Club membership.

        43. Plaintiff Tate met in person with the Club Membership Director, Bucolo, on July

           8, 2015, in order to provide an update on the implementation of the business plan.

           Tate informed Bucolo that QLP had pre-sold all shares of the 7717 Azalea Court

           property. During this meeting, Plaintiff informed Defendant Bucolo that the

           White business associate, who had accompanied Plaintiff with respect to the June

           2, 2015 meeting, was no longer involved in the project.

        44. On or about July 21, 2015, a Black adult male and two (2) Black adolescents

           visited Defendant Club’s membership office. The purpose of the visit was for one

           of the children, a member of Tate’s household, to have her photo taken and placed

           upon a Defendant Club membership identification card.

        45. On July 25, 2015, immediately upon the heels of the markedly increased

           frequency and presence of Black people within the Ibis community, Jorritsma

           called Tate. Without prior warning, Jorritsma informed Plaintiff Tate that

           Defendant IPOA and Defendant Club had each withdrawn support from QLP’s

           business plan. This business plan, which Defendants had approved in

           contemplation of Plaintiff’s participation with White co-purchasers, had outlined

           the selling of Plaintiff Tate’s 7717 Azalea Court property to a single entity. The



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           single entity purchaser of the 7717 Azalea Court property would have enjoyed

           shared ownership and access to Defendant Club membership through a

           combination of standard and Legacy Club memberships—the arrangement that

           has been suggested by Bucolo, Club Membership Director, at the June 2 meeting,

           before Bucolo and the other Defendants knew that the potential investor/owners

           would include a significant number of black people

        46. At no point in time, prior to July 25, 2015, did either Defendant IPOA or

           Defendant Club ever suggest to Plaintiffs that the concept that the contemplated

           shared ownership plan for the 7717 property, was, or even that it could potentially

           become, a violation of the covenants or Bylaws associated with either Defendant

           IPOA or Defendant Club. This shared ownership plan, and shared Club

           Membership plan, was essentially identical to the plan for the 8152 property, that

           the Defendants had approved.

        47. Upon information and belief, the Plaintiffs believe and therefore allege that The

           Defendants only raised objections to the shared ownership plans AFTER they

           learned that the potential owner/investors included a significant number of black

           people. When the Defendants, apparently, believed the owner/investors would be

           white, or primarily white, the Defendants allowed, encouraged, and assisted the

           Plaintiffs’ shared ownership plans.

        48. In a letter dated July 31, 2015, Steven Rappaport, an attorney with the Sachs Sax

           Caplan (“SSC”) law firm, alleged that Plaintiffs Tate and QLP were allowing

           occupancy of the home on a “transient basis.” This letter was written to Plaintiff

           on behalf of Defendants. The letter continued to aver that Plaintiff’s group was



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           engaged in an effort to allow multiple persons or multiple families to occupy the

           same home over the course of a given year. Through reference to Article VII,

           Section 4 of the Declaration of Covenants, Restrictions and Easements for Ibis

           Golf and Country Club (the “By-Laws”), Mr. Rappaport falsely alleged that

           Plaintiff was acting in “violation of law, ordinance, statute, regulation or rule of

           any governmental authority having jurisdiction over the Property or portion

           thereof…”.

        49. In this letter of July 31, 2015, Mr. Rappaport further accused Plaintiffs Tate and

           QLP of violating Article VII, Section 36 of the Bylaws. That section provides, in

           part, that “[e]ach residential unit shall be occupied as a residence for a single

           family. For purposes of this section, the term ‘family’ means a group of persons

           who are related to one another by blood, marriage, or adoption in the following

           degrees of kinship only: children, grandchildren, parents, brothers, sisters, aunts,

           uncles, nieces and nephews. A “family” may also consist of “two (2) single

           unrelated persons and other persons related to them in the degrees of kinship

           described above. No more than two (2) families or a single entity may be the

           owner of a residential lot at any time.”

        50. As a consequence of this definition, four (4) unrelated people may occupy a single

           residence. Of note, a single entity can also consist of an unspecified number of

           people.

        51. Plaintiff was specifically and falsely accused of “allowing occupancy of its lots

           within Ibis on a transient basis and by more than one single family as defined by

           the Declaration.”



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        52. The Defendants were aware that the 8152 property was owned by an LLC with

           multiple members.

        53. Upon information and belief, the Plaintiffs believe and therefore allege that the

           Defendants permitted and approved in writing this ownership structure, until they

           learned that more than one black person might occupy a home within the Ibis

           community through the shared ownership arrangement, at which time they

           actively sought out ways to exclude out the previously enthusiastically supported

           project.

        54. Through this July 31, 2015 letter, Defendants demanded that Plaintiffs Tate and

           QLP cease and desist from permitting more than one single family to potentially

           occupy the 7717 Azalea Court property, due to an alleged violation of the Bylaws.

           This July 31 letter threatened Ms. Tate with legal action, unless she removed the

           identification of any Ibis community properties from the websites for which she

           was responsible, as well as from other advertising on the Internet and any other

           electronic or written publications, upon pain of “mandatory mediation,” injunctive

           action and payment of Defendants’ costs and attorney’s fees. However, nothing

           on Ms. Tate’s website identified the properties advertised as being part of the Ibis

           development.

        55. During the month of August, 2015, Plaintiff Tate learned that white members of

           Defendant Club had verbally objected to the increased Black presence, as it was

           an indication of the potential proliferation of Black members of Defendant Club

           that might occur if Plaintiff was not stopped.




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        56. Upon information and belief, Plaintiffs believe, and therefore allege that these

           White club members expressed their racist and hostile views to the board

           member, officers and officials of each Defendant. The Defendants in turn,

           withdrew the support for Plaintiff’s shared ownership plan of her properties, as

           early as July 25, 2015.

        57. Upon information and belief, the Plaintiffs believe and therefore allege that

           Defendants withdrew their support of the Plaintiff’s shared ownership plan

           primarily, if not exclusively, to prevent black people from purchasing properties

           and Club memberships in the Ibis development.

        58. Upon information and belief, the Plaintiffs believe and therefore allege, that this

           accusation of selling “fractional Ibis ownership” was and is merely a pretext for

           the Defendants’ racist scheme to exclude black people from the Ibis community.

        59. When Defendant Club and Defendant IPOA withdrew their support and ordered

           Plaintiffs Tate and QLP to terminate its contemplated shared ownership program

           for the 7717 Azalea Court property, Plaintiff Tate already had invested a great

           deal of money in luxury upgrades to the property. Plaintiff Tate had invested and

           made these improvements in reliance upon Defendants’ prior approval of the

           shared ownership plan as to the 8152 property, and in reliance upon the

           Defendants’ prior support and encouragement for such a plan as to the 7717

           property; that support and encouragement came BEFORE the Defendants learned

           that Ms. Tate was not the only black owner/investor of 8152 Sandpiper and that a

           large number of black people might take advantage of the shared ownership

           opportunity of the 7717 property. Ms. Tate had made these costly improvements



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           over the course of several weeks, amounting to tens of thousands of dollars.

           Furthermore, the Plaintiff had entered into a sales agreement with QLP to

           purchase the home from her for $249,000.

        60. On August 12 and 13, 2015, Phillip Gildan of the Greenberg Traurig law firm,

           sent a letter to the Plaintiffs, in an additional effort to disrupt Plaintiff Tate’s

           home development efforts.        Defendants, through attorney Gildan, accused

           Plaintiff Tate of making misrepresentations via website, regarding membership in

           Ibis Golf & Country Club, Inc. and accused her of making misrepresentations

           about the ability of “fractional share” owners/members of Plaintiff’s QLP group

           to use the Club.

        61. In truth, Plaintiff QLP has never sold, offered to sell or referenced “fractional

           shares” relative to Defendants’ properties.

        62. The individuals who were assembled by QLP would be owners of a single entity

           LLC, and that single entity, LLC., would own the property as permitted by the

           Ibis Bylaws, and as allowed previously when the club believed the majority of

           participants would be White.

        63. In the letter of August 12, 2015, Mr. Gildan claimed that the issue of Club

           membership created potential harm to Ibis “goodwill” and “reputation”.

        64. Upon information and belief, the Plaintiffs believe and therefore allege that these

           alleged concerns about “goodwill” and “reputation” are merely a pretext for the

           Defendants’ Defendants’ unspoken, de facto policy of excluding black people

           from the Ibis community, or at least minimizing the number of black people in the

           community. There is no significant difference between the people utilizing the



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           club and membership that could in any way effect “goodwill” and “reputation”

           other than the potential change in racial makeup by adding Black Members and

           guests.

        65. Upon further information and belief, the Plaintiffs believe and therefore alleged

           that the restrictions described in Mr. Gildan’s letter of August 12, 2015 were

           never directed toward similarly situated, White Club members engaged in the

           process of selling Ibis properties to single entities. These restrictions de facto

           targeted Black potential buyers.

        66. On August 13, 2015, Tate called Jorritsma to ask that Defendants support the sale

           the 7717 Azalea Court property since she already had invested in the

           improvements and Plaintiff QLP had secured buyers for that property. Plaintiff

           reminded the Defendant Jorristma that the proposed LLC ownership arrangement

           for the 7717 property was consistent with Defendant’s Bylaws; it was identical to

           the 8152 Sandpiper Way arrangement, under which she already resided.

        67. Jorritsma told Plaintiff Tate that she could submit an application but, ultimately,

           Defendants would not approve it. Jorritsma’s statement is in direct violation of

           Defendants’ published membership application process, which states applications

           are to be submitted to the Board of Directors, prior to an acceptance decision

           about membership.

        68. Based on Jorritsma’s statement, and based on the other facts set forth in this

           Complaint, Plaintiffs believe and therefore allege that the Defendants approved

           the shared ownership plan for the 8125 property because they apparently thought

           the majority of the investor/owners were white, and Defendants rejected that same



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           plan for the 7717 property because they believed the majority of the owners

           would be black.

        69. On August 19, 2015, LoGiudice, Chief Operating Officer and General Manager of

           the Club at Ibis, wrote a letter to Plaintiff Tate. This letter acknowledged Plaintiff

           Tate’s month’s long communications with the Defendants about the shared

           ownership plan and the August 13, 2016 meeting Plaintiff Tate attended with two

           Club staff members and two Board members to discuss the prospect of continuing

           the implementation of her business plan. Defendant LoGiudice informed Plaintiff

           Tate that the Defendants rejected Tate and QLP’s plan to offer Equity

           membership privileges to owner/investors who purchased the 7717 property as

           part of an LLC. This rejection was made in spite of the fact that the Defendants

           had approved such Equity Membership privileges for the 8125 property, had

           initially supported the plan for 7717 property.

        70. Upon information and belief, the Plaintiffs believe and therefore allege that

           Defendants had granted membership privileges to similarly situated non-black

           people.

        71. Defendant LoGiudice proffered the pretext that the Ibis Bylaws prohibited

           Plaintiffs’ proposed ownership structure for the 7717 property.

        72. The reversal of support directly contradicts the Defendants’ prior acceptance of

           the same ownership structure for the 8152 property.

        73. Upon information and belief, the Plaintiffs believe and therefore allege that the

           only difference between the Defendants’ approval of the 8152 property, and the

           Defendants’ rejection of the ownership plan of the 7717 property is that the



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           Defendants apparently believed that the 8152 property had only one black owner

           and several white owners, and the 7717 property was owned by a majority of

           black people.

        74. On September 3, 2015, Defendant IPOA’s counsel sent a communication

           acknowledging their understanding that the business plan entailed selling the 7717

           Azalea Court property to a single entity, an LLC, an arrangement that is permitted

           within the Bylaws and covenants held by Defendant IPOA and Defendant Club.

           This contradicts the Defendants’ prior communications that had asserted the

           Plaintiff would be selling fractional ownership. This letter of September 3, 2015

           shows that the Defendants prior claims that Plaintiffs’ plans for the 7717 property

           violated the Bylaws was wrong, and it strongly suggests that the Defendants

           knew, or should have known that this position was wrong.

        75. After dealing with the immediate negative economic and business relation

           consequences resulting from the Defendants’ abrupt and inexplicable withdrawal

           of support for her plan to sell the 7717 property to an LLC., , Plaintiff Tate was

           forced to place the 7717 Azalea Court property on the general real estate market.

           Based upon Defendants’ actions, as herein described, during the remainder of the

           Fall and Winter of 2015-2016, continuing through Spring 2016, Plaintiff Tate was

           forced to initiate several significant price reductions, in order to promote the sale

           of the 7717 property on the general market.

        76. Plaintiff Tate purchased the 7717 Azalea Court property under the Defendants’

           Varied Equity Home Renovator program. Defendants’ Varied Equity Home

           Renovator and Varied Equity Short Sale programs provide for an investor to



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           acquire a foreclosed, short sale or distressed property, solely as determined by

           Defendant IPOA and Defendant Club. These programs are designed to attract

           developers to distressed homes and spare them the costs associated with full

           membership joining fees and dues for a one year to permit the investor to make

           renovations to the property and sell the property.

        77. During the Home Renovator’s Initial Period, twelve months in the case of the

           7717 property,    no annual dues or capital or operating assessments associated

           with the membership are due from the renovator, unless the property is converted

           to a fully-paid Varied Equity Short Sale Membership during the period.        If the

           dwelling has not sold during the Initial Period, and the renovator has not made the

           final installment payment of the membership, the renovator must choose a

           category of membership and make the final installment payment for membership

           due under this Plan within seven (7) days of the end of the Initial Period. Once the

           final payment is made, the renovator shall assume all rights and obligations as a

           full member.

        78. Plaintiff Tate purchased property at 7717 Azalea Court, under Defendant’s

           ‘Varied Equity Short Sale Plan for the purpose of resale to a single entity applying

           a shared ownership arrangement within the allotted twelve-month period.

        79. The Defendants’ abrupt withdrawal of support for the shared ownership

           arrangement prevented Plaintiffs from selling the 7717 property to the LLC, as

           Plaintiff had planned.




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        80. This sudden withdrawal of support for the original business plan caused

           significant administrative and business consequences for Plaintiff, which delayed

           placing the property on the general market for at least four (4) months.

        81. The Defendants’ abrupt reversal of their prior approval of the plan to sell the 7717

           property to an LLC. made it impossible for Plaintiff to sell the 7717 property

           within the Initial Period. As a result of the delays, that the Defendants caused by

           withdrawing approval of the original plan to sell 7717 to an LLC., Plaintiff was

           forced to purchase an Equity Membership and submit an Equity Membership

           application, pursuant to Article X, Section 5 b, pages 21-24 of the IPOA/Club By-

           laws.

        82. As a result of the delays in the sale of the 7717, resulting from the Defendants’

           sudden and apparently racially-motivated withdrawal of their approval of the

           original plan to sell the property to an LLC., Plaintiff Tate could not sell the

           property within the aforementioned          twelve (12) month window to sell the

           property without buying a membership. Because Plaintiff had only seven (7) days

           to make her membership selection and pay off her Promissory Note, Plaintiff was

           forced into default of the membership that had been deferred under the Renovator

           Program, effective June 4, 2016.

        83. On May 23, 2016, in advance of the end of the twelve (12) month period, Plaintiff

           Tate applied with Defendant IPOA and Defendant Club for an extension on her

           Renovator’s Program. No aspect of the Defendant Club Bylaws, Defendant IPOA

           Bylaws or the Renovators’ program application prohibits such an extension.




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        84. On May 28, 2016, Plaintiff’s club Membership privileges were suspended. This

           suspension was made possible by an amendment to the 2015 Bylaws. This

           amendment was ratified in April 2016.

        85. Per this amendment, if an “Equity Member” is required to purchase another

           membership and does not, that membership (which is in good standing) will be

           suspended.

        86. Although Plaintiff is not an Equity Member as defined by Defendant Club’s

           Bylaws, Defendant Club elected to apply this definition to exclude Plaintiff from

           Defendant Club.

        87. Upon information and belief, the Plaintiffs believe and therefore allege that this

           amendment was ratified specifically to prejudice Plaintiff’s exercise of

           Membership privileges, stemming from Plaintiff’s ownership of three (3) homes

           in Ibis, subject to Defendant IPOA and Defendant Club By-Laws.

        88. On June 27, 2016, Plaintiff Tate traveled to West Palm Beach from Maryland for

           the express purpose of personally requesting an extension for the Renovator’s

           application from the Club Board of Directors. On two (2) separate occasions in

           advance of the meeting, Plaintiff provided written explanations of the fact that

           requesting an extension from Defendant Club’s Board of Directors was the sole

           purpose of her June 27, 2016 trip to Florida.

        89. The justification for Plaintiff’s request for an extension was the inability to sell

           the 7717 Azalea Court property as contemplated in the business proposal Plaintiff

           presented to Defendant IPOA and Defendant Club on June 2, 2015.




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        90. Previously described delays with respect to the placement of the 7717 Azalea

           Court property on the general market were directly caused by Defendants’

           decision to renege promised support for Plaintiff Tate and QLP’s shared

           ownership program. At the conclusion of her request presentation, Defendants

           advised Plaintiff they would apprise her of their decision “in a couple of days.”

        91. On July 1, 2016, having not received a decision from the Defendants following

           four days of deliberation, Plaintiff Tate contacted LoGiudice to inquire about the

           status of her extension request.

        92. On July 5, 2016, eight (8) days following Plaintiff’s formal request, Defendant

           Club denied Plaintiff’s request for a Renovator’s Program application extension.

           Defendants cited a multitude of inconsistent explanations, through a series of

           communications, before ultimately stating that Defendants simply do not allow

           extensions.

        93. Defendants have rebuffed Plaintiff’s requests for documentation, within

           Defendants’ By-Laws, that supports the rejection of Plaintiff’s extension

           application.   In rendering this decision, the Defendants also understood that

           requiring Plaintiff to purchase a membership would expose Plaintiff to in excess

           of $25,000 of non-refundable expenses associated with purchasing an extraneous

           membership.

        94. Upon information and belief, the Plaintiffs believe and therefore allege that the

           Defendants proffered explanations, including but not limited to their belated claim

           that the Defendants simply did not allow extensions, was merely a pretext to

           conceal their racist policies. Despite their ultimate claim that they did not allow



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           extensions, the Defendants accepted Plaintiff’s request for a meeting regarding

           the matter and allowed her to incur expenses to travel from Maryland to the

           meeting.

        95. In December 2016, without legal or contractual justification, Defendant Club,

           through the home sale estoppel process, withheld more than $30,000 from the

           proceeds of Plaintiff’s Tascoe Tate Family Trust’s sale of the 8152 Sandpiper

           Way property.       This was done under the incorrect assertion that a Club

           membership should have been purchased on the property, despite it being

           exempted by the IPOA Covenants.

        96. In the days leading up to the sale, Plaintiff Tate, on behalf of the Trust, challenged

           the Club to prove and substantiate its rights to the proceeds from the sale.

           Additionally, she implored the IPOA to intervene in her favor and they refused,

           despite Defendants Club and IPOA acknowledgement that they had no evidence

           to refute the Plaintiff’s claim that Plaintiff had not exhausted the exemption

           extended to transfers through devise or inheritance.

        97. The proceeds were taken in a manner that left Plaintiff’s Trust no recourse as

           continued protests on their part would have stopped the sale, exposing the

           Plaintiffs to a claim of breach of contract by the prospective buyers.            The

           Plaintiffs believe, and therefore allege, that this the Defendants’ wrongful claims

           against the sale proceeds of the 8152 property was part of the ongoing and

           continuing racial discrimination and harassment that the Defendants had

           perpetrated against the Plaintiffs since at least July of 2015.




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        98. After the Defendants’ long course of apparently racially motivated actions

            detailed above, the Defendants revised their bylaws and Covenants to prohibit the

            activities that were permissible when the Plaintiffs attempted them.

        99. In doing so, the Defendants concede that Plaintiffs’ activities, transactions, and

            plans were permitted under the prior versions of the Club and IPOA governing

            documents.

        100.       Upon information and belief, the Plaintiffs believe, and therefore allege,

            that these changes to the Bylaws and Covenants were racially motivated and

            intended to exclude, or at least strongly discourage, black people from purchasing

            property and memberships in the Ibis development.

                                          COUNT I
                VIOLATION OF VIOLATION OF THE FAIR HOUSING ACT,
                    42 U.S.C. § 3601, ET SEQ. ON THE BASIS OF RACE

     101.   The allegations of Paragraphs 1 through 100 are hereby re-alleged as if fully set

        forth herein.

     102.   Tiffany is an “aggrieved person” as that term is defined pursuant to 42 U.S.C. §

        3602.

     103.   QLP is an “aggrieved person” as that term is defined pursuant to 42 U.S.C. §

        3602.

     104.   The 7717 Property is a “dwelling” as that term is defined pursuant to 42 U.S.C. §

        3602.

     105.   Defendant IBIS PROPERTY OWNERS ASSOCIATION, INC. committed a

        “discriminatory housing practice”, as that term is defined pursuant to 42 U.S.C. §

        3602 by and through the following acts:



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                a. Refusing to permit Tiffany from selling the dwelling to QLP so that

                    African Americans would not become members of IPOA; and

                b. Refusing to permit QLP to purchase the dwelling so that African

                    Americans would not become members of IPOA;

     106.   Defendant IBIS PROPERTY OWNERS ASSOCIATION, INC. committed a

        “discriminatory housing practice”, as that term is defined pursuant to 42 U.S.C. §

        3602 by and through the following acts:

                a. Refusing to permit Tiffany from selling the dwelling to QLP so that

                    African Americans would not become members of IPOA; and

                b. Refusing to permit QLP to purchase the dwelling so that African

                    Americans would not become members of IPOA;

     107.   The Defendant’s acts, including those through their employees and/or agents as

        described herein, violate the Fair Housing Act, as amended, 42 U.S.C. §§ 3604(a), (b)

        and (c) in that they:

                a. constitute a refusal to sell real property, including appurtenant

                    homeowners’ association membership privileges, free from discriminatory

                    covenants and otherwise make housing unavailable on the basis of racial

                    status in violation of 42 U.S.C. § 3604(a);

                b. provide different terms, conditions, and privileges for the purchase of

                    housing properties, as well as different requirements and rules in

                    connection therewith, on the basis of racial status in violation of 42 U.S.C.

                    § 3604(b); and




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                  c. make statements and advertisements, including those made by their

                     employees and/or agents, as described herein, that effectively express a

                     preference and/or limitation on the basis of racial status in violation of 42

                     U.S.C. § 3604(c).

     108.     The foregoing conduct of Defendants constitutes discrimination against any

        person in the terms conditions, and privileges of sale or rental of a dwelling, or in the

        provision of services or facilities in connection with such dwelling, because of racial

        discrimination.

     109.     Defendants’ conduct in refusing to permit African Americans to purchase

        property in the community, specifically permitting the purchase of the dwelling from

        Tate is a unduly restrictive limitation on the purchase of property in the Ibis

        community which places each plaintiff and the class in danger of being dispossessed

        of their property rights to purchase and sell in the Ibis community.

     110.     The Defendants actions were intentional and in total and reckless disregard of the

        Plaintiff’s federally protected rights.

     111.     The Defendants’ actions were intention or with reckless disregard of the rights of

        American Americans.

     112.     As a result of the unlawful discrimination, the Plaintiff have suffered damages.

     WHEREFORE, the Plaintiffs demand judgment against the Defendants for actual

     damages, punitive damages, attorney fees and cost and injunctive relief to prevent

     discrimination to African Americans as follows:

            A. Find that the Defendants violated the Fair Housing Amendments Act by treating

               the Plaintiffs and African Americans differently from Caucasian purchasers by



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            and through discriminatorily interpreting their rules and regulations to restrict the

            amount of African Americans in the Ibis community, including an unduly

            restrictive application procedure;

         B. Find that the Defendants acts were intentional, outrageous, willful and wanton,

            beyond all bounds of a civilized society, and in reckless disregard of the

            Plaintiffs' civil rights under law;

         C. Find that Plaintiffs are entitled to an award of attorneys' fees and costs, and

            reserve ruling as to the amounts and the applicable multiplier until the conclusion

            of the trial on this matter;

         D. Enjoin Defendants from discriminating against Plaintiffs or any other person,

            visitor or associate of such person with respect to housing because of racial

            status. Such discrimination includes, inter alia enacting and enforcing rules that

            discriminate against African Americans. Defendant should be further enjoined

            from unlawfully coercing, intimidating and interfering with an individual in the

            exercise or enjoyment of rights granted or protected by the Fair Housing Act,

            including but not limited to retaliating against any person because that person has

            made a complaint, testified, assisted or participated in any manner in a

            proceeding under the Act . This includes, but is not limited to, assessing African

            American unit owners the costs or expenses in litigating or resolving this matter,

         E. Order Defendants to provide a notice to all current or prospective owners of their

            right to be free from discrimination based upon their racial status.

         F. Order Defendants to establish uniform and objective policies and procedures for

            the rules and regulations of the Ibis community.



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         G. Order that Defendants submit a copy of these policies and procedures to

            plaintiffs and this court for review and approval .

         H. Order that the Defendants instruct all employees, agents, independent contractors

            and/or other persons who deal with the sale or management of properties in the

            Ibis community, at the conclusion of this case and for the next ten years, of the

            terms of the Court's Order and the Fair Housing Act, Fair Housing Amendments

            Act and implementing regulations .

         I. Grant any other such relief as this Court deems just and equitable .




                                        JURY DEMAND

                     Plaintiff demands a trial by jury on all issues so triable.




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        Dated this 1st day of September, 2017

                                                       Respectfully submitted,


                                                       /s/Neil Tygar________
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